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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE


In re                                                              Chapter 11

The Hertz Corporation, et al., 1                                   Case No. 20-11218 (MFW)

                                                                   (Jointly Administered)
                                         Debtors.


     NOTICE OF AGENDA FOR TELEPHONIC AND VIDEO HEARING SCHEDULED
       FOR JUNE 12, 2020 AT 3:00 P.M. (PREVAILING EASTERN TIME), BEFORE
         THE HONORABLE MARY F. WALRATH, AT THE UNITED STATES
            BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE 2


    This hearing will be held telephonically and by video. All parties wishing to appear must
      do so telephonically by contacting COURTCALL, LLC at 866-582-6878. Only those
        parties that will be addressing the Court should appear by Zoom and CourtCall.

                      PLEASE NOTE THAT THE MICROPHONES ON THE
                      ZOOM MEETING WILL BE MUTED AND THE ONLY
                         AUDIO WILL BE THROUGH COURTCALL.

                              Topic: The Hertz Corporation 20-11218
                    Time: June 12, 2020 03:00 PM Eastern Time (US and Canada)

                                        Join ZoomGov Meeting
                            https://debuscourts.zoomgov.com/j/1600268288

                                          Meeting ID: 160 026 8288
                                             Password: 975546




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          The last four digits of The Hertz Corporation’s tax identification number are 8568. The location of the
debtors’ service address is 8501 Williams Road, Estero, FL 33928. Due to the large number of debtors in these
chapter 11 cases, for which joint administration for procedural purposes has been requested, a complete list of the
debtors and the last four digits of their federal tax identification numbers is not provided herein. A complete list of
such information may be obtained on the website of the debtors’ claims and noticing agent at
https://restructuring.primeclerk.com/hertz.
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          All motions and other pleadings referenced herein are available online at the following address:
https://restructuring.primeclerk.com/hertz.



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I.       MATTER GOING FORWARD:

         1.        Debtors’ Emergency Motion for Authority to Enter Into a Sale Agreement with
                   Jefferies LLC and to Sell Shares of Common Stock of Debtor Hertz Global
                   Holdings, Inc. Through At-the-Market Transactions [Docket No. 387 – filed June
                   11, 2020]

                   Objection/Response Deadline:         At the hearing.

                   Objections/Responses Received:       None at this time.

                   Related Documents:

                   i.     Debtors’ Motion to Shorten Notice and Objection Periods and Setting
                          Procedures with Respect to Debtors’ Emergency Motion for Authority
                          to Enter Into a Sale Agreement with Jefferies LLC and to Sell Shares
                          of Common Stock of Debtor Hertz Global Holdings, Inc. Through At-
                          the-Market Transactions [Docket No. 389 – filed June 11, 2020]

                   ii.    Order Granting Motion to Shorten Notice and Objection Periods and
                          Setting Procedures With Respect to Debtors’ Emergency Motion for
                          Authority to Enter Into a Sale Agreement with Jefferies LLC and to
                          Sell Shares of Common Stock of Debtor Hertz Global Holdings, Inc.
                          Through At-The-Market Transactions [Docket No. 393 – entered June
                          11, 2020]

                   Status: The hearing on this matter will go forward.




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Dated: June 11, 2020

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                                                Proposed Co-Counsel to the Debtors and
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